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UNITED STA'I`ES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

TAMPA DIVISION
FLORANA RODRIGUEZ,
Plaintiff,
v. CASE NO.: 8:15-cv-02601-JSM-TBM
DFS SERVICES, LLC,
Defendant.

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MEDIATOR'S NOTICE OF SETTLEMENT

James R. Betts, the undersigned mediator, advises this court that the parties' mediation
conference on May 27, 2016, attended by Gus M. Centrone, Esq., Brian L. Shrader, Esq., Ms.
Florana Rodriguez, Jacqueline A. Simms-Petredis, Esq., Simon Auerbach, Esq. and Mr. Chad
Davis, resulted in a complete settlement

Certificate of Service

I hereby certify that on May 29, 2016 by using the CM/ECF system I electronically filed
a copy of this notice with the Clerk of the District Court and served true copies of this notice
upon the following:

Gus M. Centrone, Esq. Jacqueline A. Simms-Petredis, Esq.
Brian L. Shrader, Esq. Fax: (813) 357-3534

Fax: (813) 336-0832

ames R. Betts, Esq.
FBN 327786
Mediation Cert. #10773R
710 S. Boulevard
Tampa, Florida 33606-2903
(813) 254-3302
(813) 254-5322 fax
JBETTS@TAMPABAY.RR.COM

